  Case
Case    1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS     Document3522
                                    3522-3Filed
                                   3484      Filed 01/04/07 Page
                                                 12/18/2006
                                                 01/04/2007  Page1 15
                                                                   of 39
                                                                   10 of 51
                                                                         56
  Case
Case
 Case   1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
       2:01-cv-72806-NGE   Document
                           Document 3522-3
                                   3484
                                   3522
                                     53 FiledFiled
                                          Filed    01/04/07 Page
                                                05/23/2003
                                                 12/18/2006
                                                 01/04/2007  Page2111
                                                             Page  ofof39
                                                                   16  of3851
                                                                           56
  Case
Case
 Case   1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
       2:01-cv-72806-NGE   Document
                           Document 3522-3
                                   3484
                                   3522
                                     53 FiledFiled
                                          Filed    01/04/07 Page
                                                05/23/2003
                                                 12/18/2006
                                                 01/04/2007  Page3212
                                                             Page  ofof39
                                                                   17  of3851
                                                                           56
  Case
Case
 Case   1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
       2:01-cv-72806-NGE   Document
                           Document 3522-3
                                   3484
                                   3522
                                     53 FiledFiled
                                          Filed    01/04/07 Page
                                                05/23/2003
                                                 12/18/2006
                                                 01/04/2007  Page4313
                                                             Page  ofof39
                                                                   18  of3851
                                                                           56
  Case
Case
 Case   1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
       2:01-cv-72806-NGE   Document
                           Document 3522-3
                                   3484
                                   3522
                                     53 FiledFiled
                                          Filed    01/04/07 Page
                                                05/23/2003
                                                 12/18/2006
                                                 01/04/2007  Page5414
                                                             Page  ofof39
                                                                   19  of3851
                                                                           56
  Case
Case
 Case   1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
       2:01-cv-72806-NGE   Document
                           Document 3522-3
                                   3484
                                   3522
                                     53 FiledFiled
                                          Filed    01/04/07 Page
                                                05/23/2003
                                                 12/18/2006
                                                 01/04/2007  Page6515
                                                             Page  ofof39
                                                                   20  of3851
                                                                           56
  Case
Case
 Case   1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
       2:01-cv-72806-NGE   Document
                           Document 3522-3
                                   3484
                                   3522
                                     53 FiledFiled
                                          Filed    01/04/07 Page
                                                05/23/2003
                                                 12/18/2006
                                                 01/04/2007  Page7616
                                                             Page  ofof39
                                                                   21  of3851
                                                                           56
  Case
Case
 Case   1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
       2:01-cv-72806-NGE   Document
                           Document 3522-3
                                   3484
                                   3522
                                     53 FiledFiled
                                          Filed    01/04/07 Page
                                                05/23/2003
                                                 12/18/2006
                                                 01/04/2007  Page8717
                                                             Page  ofof39
                                                                   22  of3851
                                                                           56
  Case
Case
 Case   1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
       2:01-cv-72806-NGE   Document
                           Document 3522-3
                                   3484
                                   3522
                                     53 FiledFiled
                                          Filed    01/04/07 Page
                                                05/23/2003
                                                 12/18/2006
                                                 01/04/2007  Page9818
                                                             Page  ofof39
                                                                   23  of3851
                                                                           56
 Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
       2:01-cv-72806-NGE  Document
                           Document3522-3
                                  3484
                                  3522
                                    53 FiledFiled
                                          Filed   01/04/07 Page
                                                05/23/2003
                                                12/18/2006
                                                01/04/2007  Page10919
                                                             Page   of
                                                                   24  39
                                                                    ofof
                                                                       3851
                                                                         56
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page11
                                                             Page10ofofof
                                                                  25
                                                                  20   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page12
                                                             Page11ofofof
                                                                  26
                                                                  21   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page13
                                                             Page12ofofof
                                                                  27
                                                                  22   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page14
                                                             Page13ofofof
                                                                  28
                                                                  23   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page15
                                                             Page14ofofof
                                                                  29
                                                                  24   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page16
                                                             Page15ofofof
                                                                  30
                                                                  25   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page17
                                                             Page16ofofof
                                                                  31
                                                                  26   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page18
                                                             Page17ofofof
                                                                  32
                                                                  27   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page19
                                                             Page18ofofof
                                                                  33
                                                                  28   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page20
                                                             Page19ofofof
                                                                  34
                                                                  29   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page21
                                                             Page20ofofof
                                                                  35
                                                                  30   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page22
                                                             Page21ofofof
                                                                  36
                                                                  31   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page23
                                                             Page22ofofof
                                                                  37
                                                                  32   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page24
                                                             Page23ofofof
                                                                  38
                                                                  33   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page25
                                                             Page24ofofof
                                                                  39
                                                                  34   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page26
                                                             Page25ofofof
                                                                  40
                                                                  35   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page27
                                                             Page26ofofof
                                                                  41
                                                                  36   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page28
                                                             Page27ofofof
                                                                  42
                                                                  37   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page29
                                                             Page28ofofof
                                                                  43
                                                                  38   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page30
                                                             Page29ofofof
                                                                  44
                                                                  39   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page31
                                                             Page30ofofof
                                                                  45
                                                                  40   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page32
                                                             Page31ofofof
                                                                  46
                                                                  41   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page33
                                                             Page32ofofof
                                                                  47
                                                                  42   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page34
                                                             Page33ofofof
                                                                  48
                                                                  43   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page35
                                                             Page34ofofof
                                                                  49
                                                                  44   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page36
                                                             Page35ofofof
                                                                  50
                                                                  45   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page37
                                                             Page36ofofof
                                                                  51
                                                                  46   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page38
                                                             Page37ofofof
                                                                  52
                                                                  47   39
                                                                        3856
                                                                          51
  Case
Case
 Case  1:01-cv-12257-PBS Document
     1:01-cv-12257-PBS
      2:01-cv-72806-NGE   Document 3522-3
                          Document3522
                                  3484
                                   53 Filed Filed
                                          Filed   01/04/07 Page
                                               05/23/2003
                                                12/18/2006
                                                01/04/2007  Page39
                                                             Page38ofofof
                                                                  53
                                                                  48   39
                                                                        3856
                                                                          51
